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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

RHIMCO INDUSTRIES, INC.                            §
                                                   §
v.                                                 §    CIVIL ACTION NO. 4:15-cv-00860-O
                                                   §
SENTRY INSURANCE A MUTUAL                          §
COMPANY                                            §

                         JOINT MOTION TO DISMISS WITH PREJUDICE

         Plaintiff, Rhimco Industries, Inc., and Defendant, Sentry Insurance A Mutual Company,

jointly move to dismiss with prejudice all claims which either Plaintiff or Defendant have asserted,

or could have asserted, against each other in this lawsuit. In support of this motion, Plaintiff and

Defendant would show the following:

                                                   1.

         Plaintiff and Defendant would show that a settlement has been reached between Plaintiff and

Defendant as to all claims and matters involved in this lawsuit. As Plaintiff and Defendant have

settled all issues in this lawsuit as it relates between them, Plaintiff and Defendant would now jointly

move the Court to dismiss all claims Plaintiff has asserted, or could have asserted, against

Defendant, with prejudice to the refiling of same, and to dismiss all claims which Defendant has or

could have asserted against Plaintiff, with prejudice to the refiling of same.

         For all of the above reasons, Plaintiff and Defendant would jointly move the Court to issue

an order of dismissal, dismissing all of Plaintiff’s claims asserted in this lawsuit, or which could have

been asserted in this lawsuit, by Plaintiff against Defendant, with prejudice to the refiling of same,

and dismissing all claims which Defendant has or could have asserted in this lawsuit against

Plaintiff, with prejudice to the refiling of same, with all costs of court to be borne by those parties

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who incurred them.

                                               Respectfully submitted,



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                                   CERTIFICATE OF SERVICE

        This is to certify that on August 17, 2016, I electronically filed the foregoing document with
the clerk of court for the U. S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to
the following attorneys of record who have consented in writing to accept this Notice as service of
this document by electronic means: John Lively, Attorney for Plaintiff, Rhimco Industries, Inc..

                                                      /S/Russell J. Bowman
                                                      Russell J. Bowman


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